Case:17-03283-LTS Doc#:4784-2 Filed:01/14/19 Entered:01/14/19 21:17:45   Desc:
                          Appendix I Page 1 of 2


                                APPENDIX I
Case:17-03283-LTS Doc#:4784-2 Filed:01/14/19 Entered:01/14/19 21:17:45                                       Desc:
                          Appendix I Page 2 of 2


Bondholders/Monoline Insurers That Have Filed Proofs of Claim That Include Invalid GO
            Bond Claims of $50 Million or More Against Commonwealth1

                             Name of Claimant                                 Claim            Date Filed
                                                                             Number
           ASM BLMIS Claims LLC                                                   66945              6/27/18

           Assured Guaranty Municipal Corp.                                        27427             5/25/18

           Aurelius Investment, LLC                                                66624             6/27/18

           Aurelius Opportunities Fund, LLC                                        66867             6/27/18

           Autonomy Master Fund Limited                                            66993             6/27/18

           Brigade Capital Management, LP                                          21179             5/25/18

           FPA Crescent Fund                                                      106758             6/27/18

           LS Strategic Income Fund                                               140641             6/29/18

           Mason Capital Master Fund, L.P.                                        110600             6/27/18

           Prisma SPC Holdings Ltd. Segregated Portfolio AG                        66436             6/27/18




1
    This chart identifies certain holders of Invalid GO Bond claims based on a summary review of proofs of claim
    filed against the Commonwealth categorized by Prime Clerk (the Debtors’ claims agent) as “Bond” claims or
    “Insurers of Long Term Debt” claims. The Objectors object, at a minimum, to these claims. The Objection will
    be served on the above entities at the service addresses provided on their respective proofs of claim, as well as
    on their counsel, if known.
